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                      Slip Op. 22-

                 UNITED STATES
          COURT OF INTERNATIONAL TRADE

                    Court No. 21-00088

               FUJIAN YINFENG IMP & EXP
                   TRADING CO., LTD.,
                         Plaintiff,
                             v.
                     UNITED STATES,
                         Defendant,
                            and
                COALITION OF AMERICAN
                MILLWORK PRODUCERS,
                   Defendant-Intervenor.

               Before: M. Miller Baker, Judge

                         OPINION

     [Denying Plaintiff’s motion for judgment on the
     agency record and granting judgment on the agency
     record to Defendant and Defendant-Intervenor.]

                              Dated: September 13, 2022

     Gregory S. Menegaz, J. Kevin Horgan, Judith L.
     Holdsworth, and Alexandra H. Salzman, deKieffer &
     Horgan, PLLC, of Washington, DC, on the briefs for
     Plaintiff.
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     Brian M. Boynton, Assistant Attorney General; Patri-
     cia M. McCarthy, Director; Claudia Burke, Assistant
     Director; and Ioana Cristei, Trial Attorney, Commer-
     cial Litigation Branch, Civil Division, U.S. Depart-
     ment of Justice of Washington, DC, on the brief for De-
     fendant. Of counsel on the brief was Leslie Lewis, At-
     torney, Office of Chief Counsel for Trade Enforcement
     & Compliance, U.S. Department of Commerce of
     Washington, DC.

     Timothy C. Brightbill and Laura El-Sabaawi, Wiley
     Rein LLP of Washington, DC, on the brief for Defend-
     ant-Intervenor.

        Baker, Judge: Plaintiff Fujian Yinfeng challenges
     the Department of Commerce’s final determination in
     a countervailing duty investigation of wood mouldings
     and millwork products from China. For the reasons set
     forth below, the court sustains that determination.

          Statutory and Regulatory Background

        The Tariff Act of 1930 provides that when Com-
     merce determines that a foreign government is provid-
     ing a “countervailable subsidy” as to goods imported
     into the United States, and the International Trade
     Commission further determines that such imports in-
     jure U.S. domestic industry, the Department will im-
     pose a “countervailing duty” on the relevant merchan-
     dise “equal to the amount of the net countervailable
     subsidy.” 19 U.S.C. § 1671(a).

        To conclude that a foreign producer received a sub-
     sidy, Commerce must determine that “(1) a foreign
     government provide[d] a financial contribution (2) to a
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     specific industry and (3) a recipient within the indus-
     try receive[d] a benefit as a result of that contribution.”
     Fine Furniture (Shanghai) Ltd. v. United States, 748
     F.3d 1365, 1369 (Fed. Cir. 2014) (citing 19 U.S.C.
     § 1677(5)(B)); see also 19 U.S.C. § 1677(5)(A). “Analyz-
     ing all three factors is therefore necessary for Com-
     merce to determine whether a [countervailing duty]
     must be imposed.” Fine Furniture, 748 F.3d at 1369.

         As relevant here, the statute defines “benefit” as in-
     cluding the provision of “goods or services . . . for less
     than adequate remuneration . . . .” 19 U.S.C.
     § 1677(5)(E)(iv). The statute further provides that
     “[f]or purposes of clause (iv), the adequacy of remuner-
     ation shall be determined in relation to prevailing
     market conditions for the good or service being provi-
     ded . . . in the country which is subject to the investi-
     gation or review.” Id. § 1677(5)(E).

        The consideration of “prevailing market conditions”
     requires an examination of “price, quality, availability,
     marketability, transportation, and other conditions of
     purchase or sale.” Id.; see also Beijing Tianhai Indus.
     Co. v. United States, 52 F. Supp. 3d 1351, 1374 (CIT
     2015). The Department measures the adequacy of re-
     muneration by comparing the respondent’s actual
     price paid for an input to an adjusted benchmark fig-
     ure representing the market price for the good at is-
     sue. See 19 C.F.R. § 351.511(a)(2)(i).

        In its antidumping and countervailing duty inves-
     tigations, the Department seeks and relies upon rele-
     vant information from interested parties and other
     sources. Sometimes that information is not available,
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     and other times an interested party’s informational
     and other responses to the Department’s investigation
     are deficient in some way. The statute provides a tool
     for Commerce in those situations called “facts other-
     wise available”:

        (a) In general. If—

           (1) necessary information is not available on
           the record, or

           (2) an interested party or any other person—

              (A) withholds information that has been
              requested by [Commerce] . . . under this
              subtitle,

              (B) fails to provide such information by the
              deadlines for submission of the infor-
              mation or in the form and manner re-
              quested, subject to subsections (c)(1) and
              (e) of section 1677m of this title,

              (C) significantly impedes a proceeding un-
              der this subtitle, or

              (D) provides such information but the in-
              formation cannot be verified as provided
              in section 1677m(i) of this title,

        [Commerce] . . . shall, subject to section
        1677m(d) of this title, use the facts otherwise
        available in reaching the applicable determina-
        tion under this subtitle.

     19 U.S.C. § 1677e(a) (emphasis added).
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        If the Department determines that it is required to
     apply facts otherwise available, it “may use an infer-
     ence that is adverse to the interests of that party in
     selecting from among” those facts if it “finds that an
     interested party has failed to cooperate by not acting
     to the best of its ability to comply with a request for
     information.” Id. § 1677e(b)(1) (emphasis added). An
     interested party’s failure to cooperate to “the best of its
     ability” is determined by “assessing whether [it] has
     put forth its maximum effort to provide Commerce
     with full and complete answers to all inquiries in an
     investigation.” Nippon Steel Corp. v. United States,
     337 F.3d 1373, 1382 (Fed. Cir. 2003).

        In trade parlance, Commerce’s use of an adverse in-
     ference in applying facts otherwise available is known
     as “adverse facts available,” or “AFA.” 1

           Factual and Procedural Background

        In 2020, in response to a petition from the Coalition
     of American Millwork Producers, Commerce opened a
     countervailing duty investigation of millwork products
     imported from China during calendar year 2019. See
     Wood Mouldings and Millwork Products from China:
     Initiation of Countervailing Duty Investigation, 85
     Fed. Reg. 6513, 6513–14 (Dep’t Commerce Feb. 5,
     2020). The Department selected Yinfeng as a manda-
     tory respondent. See Appx1001, Appx1402.



     1For a more in-depth discussion of the intricacies of ad-
     verse facts available, see Hung Vuong Corp. v. United
     States, 483 F. Supp. 3d 1321, 1336–39 (CIT 2020).
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        Commerce issued initial and supplemental ques-
     tionnaires to the government of China and Yinfeng.
     See Appx1402. Both responded. See Appx5896–10429;
     Appx11268–11300; Appx5332–5541.

        After reviewing this and other information, Com-
     merce published a preliminary determination as-
     sessing a 13.61% countervailing duty rate. See Wood
     Mouldings and Millwork Products from the People’s
     Republic of China: Preliminary Affirmative Counter-
     vailing Duty Determination and Alignment of Final
     Determination With Final Antidumping Duty Determi-
     nation, 85 Fed. Reg. 35,900, 35,901 (Dep’t Commerce
     June 12, 2020); Appx 1605–06. Two aspects of its ac-
     companying explanation are relevant here.

        First, after repeated stonewalling by the Chinese
     government, the Department chose to apply facts oth-
     erwise available with an adverse inference with re-
     spect to China’s Export Buyer’s Credit Program
     (EBCP). Appx1414. 2 Commerce chose to do this even


     2 Specifically, Commerce determined that it was required
     to apply facts otherwise available because necessary infor-
     mation was not available on the record, the Chinese gov-
     ernment withheld information, and the Chinese govern-
     ment significantly impeded the investigation. Appx1416;
     see also 19 U.S.C. § 1677e(a)(1), (2)(A), (2)(C). Those find-
     ings mandated the application of facts otherwise available.
       The Department further determined that by withholding
     information and significantly impeding the investigation,
     the Chinese government failed to cooperate to the best of
     its ability. Appx1416; see also 19 U.S.C. § 1677e(b)(1). Com-
     merce then exercised its discretion to apply an adverse
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     though Yinfeng reported no receipt of EBCP benefits
     and submitted certifications of non-use from its cus-
     tomers. Appx1025, Appx1027.

        Second, Commerce selected benchmarks to meas-
     ure the adequacy of remuneration for the provision of
     sawnwood and plywood. See Appx1428–1434. The
     lumber inputs are shipped to China, so the Depart-
     ment attempted to establish an ocean freight bench-
     mark price reflective of the world market price in order
     to determine a fair cost of shipping. See Appx1433–
     1434. As part of this calculation, Commerce relied on
     an average of all the data submitted by the parties.
     Specifically, the Department used the Maersk and
     Descartes freight price datasets submitted by Yinfeng,
     and the Descartes dataset submitted by the Coalition.
     Appx1063; Appx1433–1434.

        The Department also stated that it could not rely
     on market or world market benchmark prices to meas-
     ure the adequacy of remuneration for land-use rights
     in China. See Appx1431–1432. So Commerce instead
     relied on data from the “Asian Marketview Reports” by
     CB Richard Ellis (CBRE) for Thailand for 2010 along
     with inflation data for Thailand. See Appx1431–1432.

        Roughly contemporaneously with publication of its
     preliminary determination, Commerce expanded the
     investigation to include the Chinese government’s al-
     leged provision of primer for less than adequate remu-



     inference in selecting among facts otherwise available.
     Appx1416.
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     neration. See Appx12167–12172. 3 To that end, the De-
     partment requested information to determine whether
     acrylic polymer could be used as a primer. See
     Appx12938.

        In response, the Coalition provided industry defini-
     tions and products for sale indicating that acrylic pol-
     ymers are considered primers. See Appx13118–13136.
     Yinfeng, however, argued that acrylic polymer could
     not be used as a stand-alone primer and was instead
     merely a raw material used to make gesso, a type of
     primer. See Appx12944–13091.

        Based on the results of this expanded investigation,
     the Department released a post-preliminary decision
     memorandum in which it determined that acrylic pol-
     ymer could be used as a stand-alone primer. See
     Appx1619–1620. Commerce therefore included acrylic
     polymer purchases in the benefit calculation for the
     Chinse government’s primer program. Id.

        The Department published its final determination
     assessing a 20.56% countervailing duty rate. See Wood
     Mouldings and Millwork Products from the People’s
     Republic of China: Final Affirmative Countervailing
     Duty Determination, 86 Fed. Reg. 67, 68 (Jan. 4, 2021);
     Appx1394–1395. 4


     3 The Coalition’s assertion of this new subsidy allegation
     prompted the Department’s expansion of the investigation
     to include primer. Appx1608; Appx12070; Appx14743.
     4Commerce thereafter issued an order imposing the duties
     specified in its final determination. See Wood Mouldings
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        In its accompanying explanation, as relevant here
     Commerce continued to apply adverse facts available
     to China’s EBCP for essentially the same reasons as in
     the    Department’s    preliminary     determination.
     Appx1019–1030.

        Commerce also continued to find that acrylic poly-
     mer could be used as a primer, and therefore included
     acrylic polymer purchases in the calculation of the
     Chinese government’s primer subsidy program.
     Appx1049–1052.

        Finally, Commerce again averaged different com-
     mercially available world market price datasets pro-
     vided by Yinfeng and the Coalition, after removing
     what the Department considered unsupported ship-
     ping route estimates from the universe of prices.
     Appx1005; Appx1061. Relatedly, Commerce also con-
     tinued to use 2010 Thai prices as reported in the CBRE
     “Asian Marketview Reports,” after adjusting for infla-
     tion, as the land-use price benchmark. Appx1056–
     1058.

        Yinfeng then brought this suit under 19 U.S.C.
     §§ 1516a(a)(2)(A)(i)(II) and (B)(i) to contest the Depart-
     ment’s final determination. ECF 6. The Coalition in-
     tervened to defend that determination. ECF 13. Yin-
     feng moved for judgment on the agency record.

     and Millwork Products from the People’s Republic of China:
     Countervailing Duty Order, 86 Fed. Reg. 9484–85 (Feb. 16,
     20201); Appx1398–1399. The parties have not addressed
     the extent to which the increase in countervailing duty rate
     in the Department’s final determination resulted from the
     expansion of the investigation to include primer.
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     ECF 22; see USCIT R. 56.2. The government (ECF 28)
     and the Coalition (ECF 27) opposed, and Yinfeng re-
     plied (ECF 30). As no party requested oral argument,
     the court decides the matter on the papers.

           Jurisdiction and Standard of Review

        The court has subject-matter jurisdiction under
     28 U.S.C. § 1581(c).

        “[T]he Court of International Trade must sustain
     ‘any determination, finding[,] or conclusion found’ by
     Commerce unless it is ‘unsupported by substantial ev-
     idence on the record, or otherwise not in accordance
     with the law.’ ” Fujitsu Gen. Ltd. v. United States, 88
     F.3d 1034, 1038 (Fed. Cir. 1996) (quoting 19 U.S.C.
     § 1516a(b)(1)(B)(i)). “[S]pecific factual findings . . . are
     conclusive unless unsupported by substantial evi-
     dence.” United States v. Eurodif S.A., 555 U.S. 305,
     316 n.6 (2009).

         Substantial evidence is “more than a mere scin-
     tilla.” Universal Camera Corp. v. NLRB, 340 U.S. 474,
     477 (1951) (quoting Consol. Edison Co. of N.Y. v.
     NLRB, 305 U.S. 197, 229 (1938)). Furthermore, “sub-
     stantial evidence” must be measured by a review of the
     record as a whole, “including whatever fairly detracts
     from the substantiality of the evidence.” Atl. Sugar,
     Ltd. v. United States, 744 F.2d 1556, 1562 (Fed. Cir.
     1984).

        Still, a party challenging Commerce’s determina-
     tion under the substantial evidence standard “has cho-
     sen a course with a high barrier to reversal.” Nippon
     Steel Corp. v. United States, 458 F.3d 1345, 1352 (Fed.
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     Cir. 2006) (cleaned up). The court must weigh the en-
     tire record and must sustain the Department’s deter-
     mination if the evidence on the record is enough that
     “a reasonable mind might accept as adequate to sup-
     port a conclusion.” Atl. Sugar, 744 F.2d at 1562.

                           Discussion

        Yinfeng objects to three aspects of Commerce’s final
     determination. First, the company challenges the De-
     partment’s application of adverse facts available based
     on the Chinese government’s failure to provide infor-
     mation about its EBCP. ECF 22-2, at 5–19. Second, the
     company argues that substantial evidence does not
     support the Department’s determination that acrylic
     polymer subsidized by the Chinese government could
     be used as a primer. Id. at 19–30. Finally, Yinfeng ob-
     jects to Commerce’s calculation of the value of ship-
     ping rates and land-use values. Id. at 30–39.

                                  I

        There is no dispute in this case that the govern-
     ment of China declined to provide information about
     the EBCP sought by Commerce in its countervailing
     duty investigation. It is also undisputed, as Yinfeng
     puts it, that the administrative record “contains no ev-
     idence that [the company] or its customers used or
     benefitted from” that program. ECF 22-2, at 13–14.

        Yinfeng argues that Department has not suffi-
     ciently justified its application of facts otherwise avail-
     able based on the Chinese government’s stonewalling,
     characterizing (without any further elaboration) Com-
     merce’s explanation as a “vague claim.” ECF 22-2,
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     at 14. The company relies on several decisions where
     this court has rejected Commerce’s application of ad-
     verse facts available based on the withholding of infor-
     mation about the EBCP. See, e.g., Clearon Corp. v.
     United States, 359 F. Supp. 3d 1344, 1359–60 (CIT
     2019) (holding that Commerce “failed to say how the
     information it sought” concerning the EBCP “is neces-
     sary” to determine “whether the manufacture, produc-
     tion, or export” of the imported merchandise “has been
     subsidized”).

        Clearon and similar decisions by this court recog-
     nize that the statute does not allow the Department to
     apply facts otherwise available merely because “infor-
     mation is not available on the record.” See Clearon
     Corp. v. United States, 474 F. Supp. 3d 1339, 1353
     (CIT 2020) (“[I]t is not clear that any of the missing
     information was ‘necessary’ . . . .”). The missing infor-
     mation must be “necessary,” meaning at least reason-
     ably related to the subject of the investigation such
     that “the missing information actually created a gap
     that mattered.” Id.; see also 19 U.S.C. § 1677e(a)(1).

         Similarly, the statute does not allow Commerce to
     apply facts otherwise available merely because an “in-
     terested person” has withheld information requested
     by the Department, 19 U.S.C. § 1677e(a)(2)(A); failed
     to provide “such information” in a timely manner or in
     the     format    requested      by    Commerce,      id.
     § 1677e(a)(2)(B); “significantly” impeded a proceeding,
     id. § 1677e(a)(2)(C); or provided “such information” but
     it was unverifiable, id. § 1677e(a)(2)(D). The common
     thread to each of these possible grounds for applying
     facts otherwise available is that both the “information”
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     requested by the Department and the “proceeding” for
     which the information is sought must be “under this
     subtitle.” Id. § 1677e(a)(2)(A), (C) (emphasis added).

        Therefore, if Commerce engages in a fishing expe-
     dition for information that is beyond the scope of its
     regulatory jurisdiction or not reasonably related to the
     proper subject of its investigation, the application of
     facts otherwise available is unlawful. Cf. Dalian
     Meisen Woodworking Co. v. United States, 571
     F. Supp. 3d 1364, 1377 (CIT 2021) (Commerce’s re-
     quest that a respondent explain why it lied to its U.S.
     customers was not made “under this subtitle” and thus
     “exceeded [the Department’s] regulatory writ”). It’s
     thus incumbent upon Commerce to explain how an in-
     terested party’s asserted deficiencies under 19 U.S.C.
     § 1677e(a) properly relate to an antidumping or coun-
     tervailing duty investigation.

         Here, Commerce explained at length why the miss-
     ing information it sought was necessary to confirm
     EBCP non-use by Yinfeng’s customers. For example,
     the Department explained that in 2013 the Chinese
     government had modified the program in various
     ways, including possibly by eliminating a $2 million
     minimum business contract requirement for the provi-
     sion of the EBCP loans. Appx1020. The status of this
     requirement was “critical” to the Department’s under-
     standing of the program, because “if the program is no
     longer limited to $2 million contracts, this increases
     the difficulty of verifying loans without any such pa-
     rameters.” Appx1021. In the absence of this $2 million
     filter, Commerce would have to examine all loans re-
     ceived by Yinfeng’s U.S. customers.
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        Commerce further explained that the 2013 changes
     appeared to have modified the EBCP in various ways,
     including by the disbursement of loans to foreign cus-
     tomers through intermediary banks. Appx1021. The
     Department therefore asked the Chinese government
     to provide a list of all partner banks involved in dis-
     bursement of EBCP funds. Id. Commerce needed that
     information because those bank names, “not the name
     ‘China Ex-Im Bank,’ ” would “appear in the subledgers
     of the U.S. customers if they received the credits.”
     Appx1023. This list of banks was thus “critical for [the
     Department] to perform verification at the U.S. cus-
     tomers.” Appx1024.

        But even the list of participating banks was only a
     starting point. The Department explained that it
     needed to know EBCP loan documentation require-
     ments to look for “indicia of China Ex-Im involve-
     ment.” Appx1024. Absent an understanding of those
     requirements, Commerce could not “verify which loans
     were normal loans versus EBC[P] loans.” Id.

        In short, Commerce reasonably explained that ab-
     sent the EBCP information it requested from the Chi-
     nese government, the Department’s attempt to verify
     whether Yinfeng’s U.S. customers were EBCP recipi-
     ents (and thus the beneficiaries of subsidies) amoun-
     ted to “looking for a needle in a haystack with the
     added uncertainty that Commerce might not even be
     able to identify the needle when it was found.”
     Appx1025.

       Yinfeng responds to these points by noting that the
     Chinese government claims to have searched official
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     records to confirm that none of the company’s custom-
     ers received EBCP credits during the period of inves-
     tigation. ECF 22-2, at 9. But this representation by the
     Chinese government failed to provide any documenta-
     tion to show on what basis the purported search was
     conducted—or even if it really was. Appx1415. 5

        The Department’s thorough explanation of exactly
     why the missing information was necessary to verify
     EBCP non-use distinguishes this case from other cases
     where this court has held that Commerce failed to
     properly explain the need for the absent information.
     See, e.g., Clearon, 474 F. Supp. 3d at 1353 (holding af-
     ter remand that substantial evidence did not support
     applying adverse facts available where Commerce did
     not analyze whether the missing information actually
     impacted its ability to verify).

        Accordingly, substantial evidence supports Com-
     merce’s application of facts otherwise available due to
     the Chinese government’s stonewalling and impeding
     the investigation. Substantial evidence also supports
     the Department’s determination to apply an adverse
     inference in selecting that information because of that
     government’s failure to cooperate. Cf. Fine Furniture,
     748 F.3d at 1373 (upholding the application of adverse
     facts available based on, inter alia, the Chinese gov-
     ernment’s failure to provide requested information
     and cooperate with the Department’s investigation).




     5Commerce understandably doesn’t take the Chinese gov-
     ernment’s representations on faith.
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                                 II

        Yinfeng argues that Commerce’s determination
     that acrylic polymer can be used as a stand-alone pri-
     mer is not supported by substantial evidence. ECF
     22-2, at 23–27. 6 The company points to certifications
     by its affiliate 7 and the relevant supplier that acrylic
     polymer could not be used as a primer or paint. Id. at
     25. It further points to third-party information that
     acrylic polymer “on its own is a chemical binder and
     must be further processed to be used as a primer” such
     as acrylic gesso. Id. at 26. It notes that the Harmo-
     nized Tariff Schedule (HTS) classifies acrylic polymer
     under chapter 39 rather than the relevant chapters for
     paint (32) and plasters (25). Id. at 27.

        The Coalition, however, provided industry defini-
     tions and products for sale indicating that single-

     6 Yinfeng also argues at length that Commerce’s inclusion
     of acrylic polymer in the primer program investigation un-
     lawfully expanded the scope of the Department’s investiga-
     tion, ECF 22-2, at 19–22, and in so doing departed from
     past practice and World Trade Organization standards, id.
     at 28–30. The company does not dispute, however, that
     Commerce properly undertook the primer investigation in
     response to the Coalition’s new subsidy allegations. Nor
     does the company dispute that if substantial evidence sup-
     ports Commerce’s determination that acrylic polymer can
     be used as a stand-alone primer, the Department properly
     included the subsidized acrylic polymer in calculating
     countervailing duties. Hence, the dispositive question is
     whether substantial evidence supports that factual deter-
     mination; Yinfeng’s other arguments are irrelevant.
     7Yinfeng’s affiliate Mangrove purchased the acrylic primer
     in question.
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     ingredient acrylic polymers, such as those purchased
     by Yinfeng’s affiliate, are considered primers by indus-
     try standards and are used as primers in practice.
     Appx1049, Appx1619.

        Commerce weighed this evidence and agreed with
     the Coalition. Appx1049–1052. In so doing, the De-
     partment explained why it discounted Yinfeng’s evi-
     dence and credited the Coalition’s.

        First, in response to the Department’s inquiries,
     the company only discussed its affiliate’s processing of
     acrylic polymers to manufacture gesso and provided no
     factual support for its contention that the acrylic poly-
     mers its affiliate purchased could not be used a stand-
     alone primer. Appx1049.

         Second, the HTS classifications invoked by Yinfeng
     only established that the acrylic polymer purchased by
     its affiliate was not classified as paint. Appx1050.

         Third, the Customs rulings provided by Yinfeng es-
     tablished that the HTS classification applicable to
     acrylic polymers could include both granular inputs
     and finished products that could be used as primers.
     Id.

        Finally, none of the third-party sources submitted
     by the company established that acrylic polymers
     could never be used without further processing. Id.

        This weighing of the evidence suffices to provide
     substantial evidence to support Commerce’s final de-
     termination that acrylic polymer can be used as a
     stand-alone primer. Yinfeng’s arguments show at most
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     that the Department could possibly have reasonably
     reached a contrary conclusion. But the substantial ev-
     idence standard requires “less than the weight of the
     evidence, and the possibility of drawing two incon-
     sistent conclusions from the evidence does not prevent
     an administrative agency’s finding from being sup-
     ported by substantial evidence.” Consolo v. Fed. Mar.
     Comm’n, 383 U.S. 607, 620 (1966). The Department’s
     determination must be sustained so long as it is sup-
     ported by substantial evidence—as, here, it was.

                                III

        After its investigation, Commerce averaged all
     freight routes on the record to establish a world mar-
     ket benchmark for ocean freight pursuant to 19 C.F.R.
     § 351.511(a)(2)(ii). Appx1060–1062. These bench-
     marks were used for countervailing duty calculations
     in Commerce’s final determination. See Appx1059–
     1064.

        Yinfeng argues that Commerce should have relied
     solely on its submissions for ocean freight calculations,
     and ignored datasets submitted by the Coalition, be-
     cause—according to Yinfeng—the Coalition’s datasets
     are not appropriately comparable to the routes that
     Yinfeng uses. See ECF 22-2, at 30–34. Specifically,
     Yinfeng argues that the Coalition’s Descartes data
     submitted based on a route from Norfolk, Virginia, to
     Tianjin, China, were improperly calculated. Allegedly,
     the data use the wrong size container, contain atypical
     charges, and focus on a non-major shipping route be-
     cause “Norfolk is not a major world port.” Id.
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        As in other aspects of this case, this court “must
     sustain ‘any determination, finding[,] or conclusion
     found’ by Commerce unless it is ‘unsupported by sub-
     stantial evidence on the record, or otherwise not in ac-
     cordance with the law.’ ” Fujitsu, 88 F.3d at 1038
     (quoting 19 U.S.C. § 1516a(b)(1)(B)(i)). And while sub-
     stantial evidence remains the standard, this court
     grants the Department “tremendous deference” that is
     “both greater than and distinct from that accorded the
     agency in interpreting the statutes it administers”
     when Commerce exercises its technical expertise to se-
     lect and apply methodologies to implement the dic-
     tates of the trade statute. Id. at 1039. Particularly re-
     garding technical matters, it is not the role of this
     court to “weigh the adequate quality or quantity of the
     evidence for sufficiency.” Timken Co. v. United States,
     699 F. Supp. 300, 306 (CIT 1988).

        Here, the record shows why the Department rea-
     sonably relied on data from the Norfolk-to-Tianjin
     route. Commerce found no evidence that it contained
     surcharges inconsistent with market conditions, that
     the route was inappropriate, or that it had an unusual
     shipping rate. Appx1062. That weighing and explana-
     tion by the Department suffices for substantial evi-
     dence purposes.

        Yinfeng also challenges the Department’s use of
     2010 Thai data to calculate the cost of land. The com-
     pany argues that these data are too old and that Thai-
     land is not economically comparable to China. ECF
     22-2, at 34–39. Yinfeng argues that Commerce instead
     should have relied upon more recent price data in the
     record from Malaysia, especially when the
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     Department has found that nation comparable to
     China in antidumping proceedings. Id. at 37–39. Yin-
     feng also argues that another option was global data
     from CBRE. Id.

        The Department explained it adjusted the Thai
     data for inflation, Appx1058, and that it viewed Thai-
     land as more economically comparable to China than
     Malaysia under its regulatory criteria such as popula-
     tion density and producers’ perceptions. Id. Moreover,
     Yinfeng’s characterization of the Malaysia as econom-
     ically comparable failed to consider those criteria. As
     far as the global CBRE data referred to by Yinfeng, the
     Department noted that it included data from several
     countries that were not reasonable alternatives to
     China, such as Germany. Id.

        There is no doubt Commerce could have calculated
     the land cost benchmark differently, as Yinfeng ar-
     gues. But Yinfeng must show more than this to over-
     come the deference due to Commerce on a highly tech-
     nical matter. See generally Fujitsu, 88 F.3d at 1038–
     39. Yinfeng has not met this burden, nor has Yinfeng
     shown that its preferred benchmarking approaches
     would be free of other problems. In view of the defer-
     ence the court owes to the Department on this most
     technical subject, the court sustains the land bench-
     marking approach used in Commerce’s final determi-
     nation.

                          Conclusion

        It’s easy to read this record and be sympathetic to
     Yinfeng. The company is disadvantaged by an adverse
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     inference caused by the noncooperation of the Chinese
     government over which it has no control, an expanded
     investigation into a product Yinfeng argues can’t be
     used as a primer in the first place, and benchmarks
     that could easily have been calculated differently.

        But it isn’t the court’s job to micromanage the Com-
     merce Department, whose challenged determinations
     here are reasonable and supported by substantial evi-
     dence. The court therefore denies Yinfeng’s motion for
     judgment on the agency record, sustains the final de-
     termination, and grants judgment on the agency rec-
     ord to the government and the Coalition. See USCIT
     R. 56.2(b). The court will enter a separate judgment.
     See USCIT R. 58(a).

     Dated: September 13, 2022        /s/ M. Miller Baker
            New York, New York        Judge
